Case 4:95-cr-50061-BAF ECF No. 989 filed 01/09/19 PagelID.11931 Page 1of3

Dion Eric Savage 19734-039
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P.O. Box 5000

Pekin, IL 61555

December 31, 2018

U.S. District Court for the ll

Eastern District of Michigan L E

The Honorable Bernard A. Friedman

Senior U.S. District Judge JAN - 9 2019

231 W. Lafayette Blvd

Detroit, Mich 48226 CLERK'S OFFICE
DETROIT

RE: Savage v. U.S.
(Crim. Case No. 95-50061)
(Appellate Number 18-1982)

Your Honor:

On December 28, 2018, I received an order from the Court of
Appeals for the Sixth Circuit remanding my Rule 54(b)/Rule 60(b)(6)
motion back to this Court for the Court to adjudicate said motion.

The indictment in the case at bar as to Count One (§ 848(c))
runs afoul of the Fifth(Indictment Clause/Due Process Clause) &
Sixth Amendment (Notice) because it fails to Notice the three or more
predicate offenses that make up the “continuing series of violations
element," offenses that are essential elements of the CCE offense
(§ 848(c)(2)) as expressly stated in Richardson, 526, U.S. at 818,
826 ("The elements of the offenses charged MUST be set forth in the
indictment, see Hamling v. United States, 418 U.S. 87, 117-19 (1974),
so hence forth-:-when the Government indicts it MUST choose three or
more specific violations and allege those ..."), and mandated by
Supreme Court precedent; it fails to chareg a cognizable federal
offense. And of which is a jurisdictional defect of the indictment
and jurisdiction can be raised at any time and is NEVER waived.

See U.S. v. Adesida, 129 F.3d 846, 850 (6th Cir. 1997)(As stated

in Fed.R.Crim.P. 12(8) (2) .“‘, if an indictment "fails to show
jurisdiction in the court or to charge an offense "[such] objection
shall be noticed by the court at any time during the pendecy of

the proceeding").

 

To preserve judicial resources (time, energy, money, and
litigation), if the government is willing to concede that the CCE
conviction is constitutionally infirm and must be vacated and the
following, I am willing to dismiss the § 3582(c)(2)/First Step
Act proceedings.
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Here is the following:

(1) after the Court vacates the unconstitutionally CCE conviction
reinstate the Conspiracy conviction, see U.S. v. West, 201 F.3d

1312 (11th Cir. 2000), (2) the Court impose a 20 year term of
imprisonment for the reinstated conspiracy coviction, see U.S. v.
Strayhorn, 250 F.3d.462, 467-69 (6th Cir. 2000)(§ 841(b)(1)(C)),

(3) subtract my good time of 1134 days plus the 32 months of extra
time I have served (on a 20 yr term, it requires 17-yrs and 4-month),
from my Supervised Release in accord with Johnson, supra; and (4)
expedite the proceedings and the Court issue an order of immediate
release.

However, if the government is not willing to concede to the
above, I respectfully requests the Court, in the interest of justice
and in accord with due process, to direct the government or the
clerk of court to forward me a-copy of the Fed.R.Cic.P. 54(b) motion
and ALL of the Exhibits so that I may properly and effectively
argue and litigate the "jurisdictional claim (Fed.R.Crim.P. 12(b)(2))4/
claim of the indictment failing to charge a cognizabel federal =
offense. See Monsanto v. U.S., 348 F.3d 345, 349 n. 4 (2nd Cir.
2003)(quoting Monsanto, 143 F.Supp. 2d at 287 n. 10); see also
Santana-Medera v. U.S., 260 F.3d 133, 140 n. 3 (2nd Cir. 2001)).

 

The reason for the above is because due to the new law of
the First Step Act I packed all of my legal property to send home.

      
  

CERTIFICATE OF SE
I hereby certify that a true a complete copy of the fore-
going Motion has been placed in U. First Cyass Mal, this day of
January 2, 2019, with the postage the ty below:

U.S. Attorney's Office

 

as
210 Federal Building 1o ric Savage £0734-039
600 Church Street F Pekin
Flint, Mich 48503 P.O. Box 5000

Pekin, IL 61555

 

1/ Your Honor, when I filed the Fed.R.Civ.Proc. 15(a) motion raising the
jurisdictional/failing to charge an offense(12(b)(2)) claim, Fed.R.Crim.P. 12(b)(2)
was in effect and not 12(B)(3).

I also respectfully requests the Court to respond to the Rule 54(b) motion
if the government does not concede to the aforementioned.
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Dion E. Savage 19734-039
Federal Correctional Institution

 

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